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   United States Court of Appeals
       for the Federal Circuit
                 ______________________

      NATIONAL VETERANS LEGAL SERVICES
      PROGRAM, NATIONAL CONSUMER LAW
        CENTER, ALLIANCE FOR JUSTICE,
               Plaintiffs-Appellants

                            v.

                   UNITED STATES,
                Defendant-Cross-Appellant
                 ______________________

                  2019-1081, 2019-1083
                 ______________________

     Appeal from the United States District Court for the
 District of Columbia in No. 1:16-cv-00745-ESH, Judge
 Ellen S. Huvelle.
                 ______________________

                      MANDATE
                 ______________________

    In accordance with the judgment of this Court, entered
 August 6, 2020, and pursuant to Rule 41 of the Federal
 Rules of Appellate Procedure, the formal mandate is
 hereby issued.
                                 FOR THE COURT

 September 28, 2020              /s/ Peter R. Marksteiner
                                 Peter R. Marksteiner
                                 Clerk of Court
